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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 Senator RICHARD BLUMENTHAL
 706 Hart Senate Office Building
 Washington, D.C. 20510,

 Senator SHELDON WHITEHOUSE
 530 Hart Senate Office Building
 Washington, D.C. 20510,

 Senator MAZIE K. HIRONO
 730 Hart Senate Office Building
 Washington, D.C. 20510,

                Plaintiffs,                          Civil Action No.

        v.

 MATTHEW G. WHITAKER, in his official
 capacity as purported Acting Attorney
 General of the United States,
 950 Pennsylvania Avenue, N.W.
 Washington, D.C. 20530,

 DONALD J. TRUMP, in his official
 capacity as President of the United States,
 1600 Pennsylvania Avenue, N.W.
 Washington, D.C. 20500,

                Defendants.



             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Senators Richard Blumenthal, Sheldon Whitehouse, and Mazie K. Hirono, for their

complaint against Matthew G. Whitaker, in his official capacity as purported Acting Attorney



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General, and Donald J. Trump, in his official capacity as President of the United States, allege as

follows:

                                       INTRODUCTION

       1.      Plaintiffs, members of the U.S. Senate and its Committee on the Judiciary, bring

this action against Matthew G. Whitaker and President Donald J. Trump to obtain relief from their

violation of the Appointments Clause of the U.S. Constitution through President Trump’s

designation of Mr. Whitaker as Acting Attorney General.

       2.      The constitutional requirement that principal federal Officers be appointed only

with the Senate’s “Advice and Consent,” U.S. Const. art. II, § 2, cl. 2, was adopted by our nation’s

Founders as an important check on the power of the President. Recognizing that giving the

President the “sole disposition of offices” would result in a Cabinet “governed much more by his

private inclinations and interests” than by the public good, and could result in the appointment of

Officers who had “no other merit than that of . . . possessing the necessary insignificance and

pliancy to render them the obsequious instruments of his pleasure,” The Federalist No. 76, at 457-

58 (Alexander Hamilton) (Clinton Rossiter ed., 1961), the Framers of the Constitution provided

that the President “shall nominate, and by and with the Advice and Consent of the Senate, shall

appoint . . . all . . . Officers of the United States, whose Appointments are not herein otherwise

provided for, and which shall be established by Law.” U.S. Const. art. II, § 2, cl. 2 (emphasis

added). The Framers saw that requirement as “an excellent check upon a spirit of favoritism in the

President,” which “would tend greatly to prevent the appointment of unfit characters from State

prejudice, from family connection, [and] from personal attachment.” The Federalist No. 76, at 457

(Alexander Hamilton) (Clinton Rossiter ed., 1961).

       3.      The Attorney General is the chief law enforcement officer of the United States and




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is vested with enormous power, including the authority to oversee and direct other Senate-

confirmed officials. On November 7, 2018, after months of signaling his displeasure with Attorney

General Jeff Sessions over a perceived lack of personal loyalty, Defendant President Trump asked

for his resignation. Although the Department of Justice (DOJ) succession statute provides that

“[i]n case of a vacancy in the office of Attorney General . . . the Deputy Attorney General may

exercise all the duties of that office,” 28 U.S.C. § 508(a), the President designated Defendant

Matthew G. Whitaker to serve as Acting Attorney General, purportedly pursuant to a provision of

the Federal Vacancies Reform Act of 1998 (FVRA), 5 U.S.C. § 3345(a)(3). As Acting Attorney

General, Mr. Whitaker will be able to exercise all of the powers and authorities possessed by the

Attorney General, id., for as many as 210 days, and potentially many more, see id. § 3346(a), (b).

       4.       The U.S. Senate has not consented to Mr. Whitaker serving in any office within the

federal government, let alone the highest office of the DOJ.1 Indeed, before deciding whether to

give their consent to Mr. Whitaker serving in such a role, Plaintiffs and other members of the

Senate would have the opportunity to consider his espoused legal views, his affiliation with a

company that is under criminal investigation for defrauding consumers, and his public comments

criticizing and proposing to curtail ongoing DOJ investigations that implicate the President. Mr.

Whitaker would not be able to serve as a principal Officer—and exercise the functions and duties

of such an office—until he made the disclosures required of a nominee, answered Senators’

questions, and convinced a majority of the Senate’s members to give their consent to his

confirmation.




       1
         While Mr. Whitaker received Senate confirmation to serve as United States Attorney for
the Southern District of Iowa fifteen years ago, he resigned that position in 2009.


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        5.      Because the Senate has not consented to Mr. Whitaker serving as an Officer of the

United States, his designation by the President to perform the functions and duties of the Attorney

General violates the Appointments Clause. See NLRB v. SW Gen., Inc., 137 S. Ct. 929, 946 (2017)

(Thomas, J., concurring) (“Appointing principal officers under the FVRA . . . raises grave

constitutional concerns because the Appointments Clause forbids the President to appoint principal

officers without the advice and consent of the Senate.”). Indeed, if allowed to stand, Mr.

Whitaker’s appointment would create a road map for the evasion of the constitutionally prescribed

Senate advice-and-consent role.

        6.      Moreover, because the DOJ succession statute provides that if the Attorney

General’s office is vacant the Deputy Attorney General “may exercise all the duties of that office,”

28 U.S.C. § 508(a), and the position of Deputy Attorney General is currently filled, Mr. Whitaker’s

appointment also violates that provision of federal law. While President Trump has cited the FVRA

in designating Mr. Whitaker to serve as Acting Attorney General, that statute does not apply here

because of the DOJ succession statute.

        7.      Plaintiffs are sitting U.S. Senators who were denied the right to vote guaranteed to

them by the Appointments Clause. They bring this lawsuit to ask the Court to remedy that injury

and vindicate their ability to fulfill their constitutional role.

                                               PARTIES

        8.      Plaintiff Richard Blumenthal is a U.S. Senator and member of the U.S. Senate

Committee on the Judiciary. In that capacity, he voted on the nominations of, among others, Jeff

Sessions to serve as Attorney General of the United States and Rod Rosenstein to serve as Deputy

Attorney General.




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       9.      Plaintiff Sheldon Whitehouse is a U.S. Senator and member of the U.S. Senate

Committee on the Judiciary. In that capacity, he voted on the nominations of, among others, Jeff

Sessions to serve as Attorney General of the United States and Rod Rosenstein to serve as Deputy

Attorney General.

       10.     Plaintiff Mazie K. Hirono is a U.S. Senator and member of the U.S. Senate

Committee on the Judiciary. In that capacity, she voted on the nominations of, among others, Jeff

Sessions to serve as Attorney General of the United States and Rod Rosenstein to serve as Deputy

Attorney General.

       11.     As members of the U.S. Senate, Plaintiffs have been entrusted by the Constitution

with the important role of determining whether to give their consent to the appointment of principal

Officers of the United States.

       12.     Defendant Matthew G. Whitaker is an employee of the DOJ holding himself out to

be the Acting Attorney General of the United States.

       13.     Defendant Donald J. Trump is the President of the United States. He designated

Mr. Whitaker to perform the functions and duties of the Attorney General, even though the Senate

has not given Mr. Whitaker its consent to serve in that role or, indeed, in any role in the federal

government.

                                 JURISDICTION AND VENUE

       14.     This Court has subject-matter jurisdiction under 28 U.S.C. §§ 1331 & 2201.

       15.     Venue is proper in this district pursuant to 28 U.S.C. § 1391. The District of

Columbia is a judicial district in which the “defendant in the action resides” and in which “a

substantial part of the events or omissions giving rise to the claim occurred.” See id. § 1391(e)(1).




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                                    LEGAL BACKGROUND

       16.     The Appointments Clause of the Constitution provides that the President “shall

nominate, and by and with the Advice and Consent of the Senate, shall appoint Ambassadors, other

public Ministers and Consuls, Judges of the supreme Court, and all other Officers of the United

States, whose Appointments are not herein otherwise provided for, and which shall be established

by Law: but the Congress may by Law vest the Appointment of such inferior Officers, as they

think proper, in the President alone, in the Courts of Law, or in the Heads of Departments.” U.S.

Const. art II, § 2, cl 2. The Attorney General is a “principal” (rather than “inferior”) Officer, and

thus the Appointments Clause requires that the person holding that office be appointed by the

President “with the Advice and Consent of the Senate.” Id.

       17.     Against the backdrop of the Constitution’s requirement that principal Officers be

appointed by the President with the Advice and Consent of the Senate, Congress enacted the DOJ

succession statute to identify who should serve as Attorney General in the event of a vacancy.

Congress provided: “In case of a vacancy in the office of Attorney General . . . the Deputy Attorney

General may exercise all the duties of that office.” 28 U.S.C. § 508(a). And if “neither the Attorney

General nor the Deputy Attorney General is available to exercise the duties of the office of

Attorney General,” then “the Associate Attorney General shall act as Attorney General.” Id.

§ 508(b). Both the Deputy Attorney General and the Associate Attorney General are Senate-

confirmed officials.

       18.     In 1998, Congress passed the FVRA, providing that the President may, in some

circumstances, fill executive branch vacancies on a temporary basis. Under the FVRA, when a

federal Officer “dies, resigns, or is otherwise unable to perform the functions and duties of the

office,” the “first assistant to the office of such officer shall perform the functions and duties of




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the office temporarily in an acting capacity,” subject to certain time limits. 5 U.S.C. § 3345(a).

Two provisions of the FVRA allow the President to direct other specified classes of individuals to

perform those functions and duties in lieu of the first assistant, id. § 3345(a)(2), (a)(3), and

President Trump has relied on one of those provisions in designating Mr. Whitaker to perform the

functions and duties of Attorney General, see id. § 3345(a)(3). That provision, however, does not

allow presidents to override the specific order of succession set forth in the DOJ succession

statute—both for reasons of statutory interpretation and because President Trump’s interpretation,

as applied here, would violate the Constitution’s Appointments Clause.

                                  FACTUAL ALLEGATIONS

A.       Defendants’ Violation of the Appointments Clause

         19.    Over the course of several months, President Trump made publicly known his

displeasure with the service of Attorney General Jeff Sessions, citing Mr. Sessions’ perceived lack

of personal loyalty to the President.2 According to public reports, the White House has been

working on a plan to fire Mr. Sessions and install Mr. Whitaker in his place since at least September

2018.3

         20.    On November 7, 2018, the President asked Mr. Sessions to resign. Even though

Deputy Attorney General Rod Rosenstein, who would be Acting Attorney General under the DOJ

succession statute, is available to exercise the functions and duties of the office of Attorney

General, President Trump announced, via Twitter, that Mr. Whitaker would instead be serving as


         2
          Margaret Hartman, The Complete History of President Trump’s Feud with Jeff Sessions,
NY Mag: Intelligencer (Nov. 7, 2018), http://nymag.com/intelligencer/2018/11/history-trump-
jeff-sessions-feud.html.
         3
         See Adam Goldman, Michael D. Shear, & Mitch Smith, Matthew Whitaker: An Attack
Dog with Ambition Beyond Protecting Trump, N.Y. Times (Nov. 9, 2018),
https://www.nytimes.com/2018/11/09/us/politics/matthew-whitaker-acting-attorney-
general.html.


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Acting Attorney General. See Donald J. Trump (@realDonaldTrump), Twitter (Nov 7, 2018, 11:44

AM), https://twitter.com/realDonaldTrump/status/1060256619383193601.

       21.     Although the U.S. Senate has not given its consent to Mr. Whitaker serving as

Attorney General (or as any principal Officer of the United States), Mr. Whitaker is exercising the

functions and duties of that office.

       22.     On November 14, 2018, the DOJ Office of Legal Counsel issued a memorandum

explaining its conclusion—apparently reached on some unspecified previous date—that the

designation of Mr. Whitaker to serve as Acting Attorney General does not violate the

Appointments Clause or applicable statutes.4 The memo relies heavily on the Supreme Court’s

statement in United States v. Eaton, 169 U.S. 331 (1898), that when a “subordinate officer is

charged with the performance of the duty of the superior for a limited time, and under special and

temporary conditions, he is not thereby transformed into the superior and permanent official.” Id.

at 343. But the memo does not explain why the conditions surrounding Mr. Whitaker’s

appointment qualify as special or exigent. Nor does it explain a key assumption underlying the

memo’s analysis—that there exists an office of Acting Attorney General different from the office

of Attorney General, even though all its duties and responsibilities are the same.

       23.     On November 17, 2018, President Trump told reporters that while he is close to

nominating someone to serve as Ambassador to the United Nations, a post which Ambassador

Nikki Haley still occupies and expects to vacate by the end of the year, he is not close to submitting

an Attorney General nomination to the Senate because he is happy with Mr. Whitaker.5


       4
         Steven A. Engel, Assistant Attorney General, Office of Legal Counsel, Designating an
Acting Attorney General: Memorandum for Emmet T. Flood, Counsel to the President (Nov. 14,
2018), https://assets.documentcloud.org/documents/5113265/OLC-Acting-AG-memo.pdf.
       5
          See Geoff Bennett (@GeoffRBennet), Twitter (Nov. 17, 2018, 4:50 AM),
https://twitter.com/GeoffRBennett/status/1063776503169802240.


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       24.      Had Mr. Whitaker been nominated to serve as a principal Officer within the DOJ,

members of the Senate would have had the opportunity to consider numerous aspects of Mr.

Whitaker’s background that might bear on their decision about whether to consent to his

confirmation.

       25.      For example, Senators would have had the opportunity to consider Mr. Whitaker’s

criticism of the two active federal law enforcement matters involving President Trump, his

campaign, and his close associates, including the investigation currently being conducted by

Special Counsel Robert Mueller into whether those associated with Mr. Trump’s presidential

campaign—including the President and members of his family—cooperated with Russian efforts

to interfere in the 2016 presidential election, and whether the President or others have attempted

to obstruct the investigation. Mr. Whitaker has been a vocal and frequent critic of the Mueller

investigation. Despite the ongoing nature of the investigation into possible coordination between

the Trump campaign and the Russian government, as well as possible obstruction of justice, Mr.

Whitaker has made public statements denying that the President or his associates engaged in such

obstruction of justice or in a conspiracy with the Russian government.6 And despite having made




       6
         See, e.g., Matthew Whitaker, Mueller’s Investigation of Trump Is Going Too Far, CNN
(Aug. 6, 2017), https://www.cnn.com/2017/08/06/opinions/rosenstein-should-curb-mueller-
whittaker-opinion/index.html; Devlin Barrett, Matt Zapotosky, & Josh Dawsey, Jeff Sessions
Forced      Out      as     Attorney      General,       Wash.     Post     (Nov.      7,     2018),
https://www.washingtonpost.com/world/national-security/attorney-general-jeff-sessions-resigns-
at-trumps-request/2018/11/07/d1b7a214-e144-11e8-ab2c-b31dcd53ca6b_story.html?utm_term=
.39fa647ae511; Andrew Prokop, The Many Scandals of Trump’s New Acting Attorney General
Matt Whitaker, Explained, Vox (Nov. 14, 2018), https://www.vox.com/2018/11/13/18087560/
matt-whitaker-mueller-trump-sessions. Notably, Mr. Whitaker even publicly distributed and
characterized as “worth a read” a Politico article describing how the President could use the FVRA
to avoid “sparking a messy confirmation process” to replace Mr. Sessions, and how Mr. Sessions’
replacement could “engineer Mueller’s firing or otherwise limit his work.” Eric Columbus, Could
Trump Fire Mueller? It’s Complicated, Politico (Aug. 3, 2017), https://www.politico.com/
magazine/story/2017/08/03/could-trump-fire-mueller-its-complicated-215453; see Rebecca

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those statements, Mr. Whitaker has not recused himself from supervision of these two

investigations.

       26.        Notably, a number of Senators have expressed their belief that the Mueller

investigation should be allowed to continue without interference, and that a nominee’s views on

the investigation would affect their decision on whether to consent to his or her confirmation.7



Morin, New Acting A.G. Criticized Mueller Probe Several Times, Politico (Nov. 7, 2018),
https://www.politico.com/story/2018/11/07/matthew-whitaker-criticized-mueller-probe-973204.
       7
          For example, in late August 2018, Senator Lindsey Graham (R-SC), said in an interview
that “[n]obody is going to take Jeff [Sessions]’s place that doesn’t commit to the Senate and the
country as a whole that Mueller will be allowed to finish his job without political interference.”
See John Wagner & Gabriel Pogrund, Lindsey Graham Says Any New Attorney General Must Let
Mueller Finish His Job, Wash. Post (Aug. 28, 2018), https://www.washingtonpost.com/
powerpost/lindsey-graham-says-any-new-attorney-general-must-let-mueller-finish-his-
job/2018/08/28/0b94dd60-aab5-11e8-b1da-ff7faa680710_story.html?utm_term=.062a4c2b35bc.
Senator Graham has repeatedly reiterated that sentiment since. Burgess Everett & Eliana Johnson,
GOP Senators: No Sessions Replacement Could Get Confirmed, Politico (Sept. 12, 2018),
https://www.politico.com/story/2018/09/12/jeff-sessions-replacement-trump-818266;             Burgess
Everett & Eliana Johnson, GOP Pushes Trump for New Attorney General Amid Mueller Uproar,
Politico (Nov. 16, 2018), https://www.politico.com/story/2018/11/16/matthew-whitaker-mueller-
senate-republicans-995056. In mid-September 2018, a spokesman for Senator Ben Sasse (R-NE)
said that Senator Sasse “finds it difficult to envision a circumstance where he would confirm a
successor to Attorney General Sessions if he is fired for faithfully executing his job. Attorney
General Sessions has allowed Mr. Mueller to do his work, and Sen. Sasse believes that’s the way
it should be.” Everett & Johnson, supra. And earlier this month, in a statement on the termination
of Mr. Sessions, Senator Lamar Alexander (R-TN) emphasized that “no new Attorney General can
be confirmed who will stop [the Special Counsel’s] investigation.” See Barrett, Zapotosky, &
Dawsey, supra. And Senator John Cornyn (R-TX) said that he “can’t imagine” the Senate would
confirm a new Attorney General absent a commitment that he or she would not interfere with the
Special Counsel’s investigation. Al Weaver & Kelly Cohen, Mum on Jeff Sessions’ Ouster,
Republican Lawmakers Want Robert Mueller To Finish the Job, Wash. Examiner (Nov. 14, 2018),
https://www.washingtonexaminer.com/news/mum-on-jeff-sessions-ouster-republican-
lawmakers-want-robert-mueller-to-finish-the-job. Senator James Lankford (R-OK) too has
commented that “[w]however is going to be there [as Attorney General] would have to make clear
statements about what they intend to do on the special counsel.” Everett & Johnson, supra.
Moreover, since the announcement of Mr. Whitaker’s designation, Senator Susan Collins (R-ME),
Senator Jeff Flake (R-AZ), Senator-elect Mitt Romney (R-UT), and numerous other Senators have
also expressed concern that Mr. Whitaker might try to interfere with the investigation or articulated
their belief that the Mueller investigation should be able to continue without interference. See Press
Release, Susan Collins, United States Senator for Maine, Senator Collins’ Statement on
Legislation To Protect the Special Counsel’s Investigation (Nov. 9, 2018),

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         27.     Senators also could consider public comments Mr. Whitaker has made about the

proper interpretation of the Constitution and other legal matters. For instance, Mr. Whitaker has

suggested that the judiciary should not be “the final arbiter of constitutional issues,” which runs

directly counter to centuries of established law concerning our Constitution’s separation of powers,

see Marbury v. Madison, 5 U.S. (1 Cranch) 137 (1803).8 He also has said that states should be able

to “nullify” federal law,9 an idea the Framers of the Constitution rejected when they adopted the

Supremacy Clause, which makes federal law “the supreme Law of the Land.” U.S. Const. art. VI,

cl. 2.

         28.     Senators also could consider that Mr. Whitaker was on the board of a company that

allegedly defrauded consumers and is under investigation by the FBI, which is part of the very

Department that Mr. Whitaker has been designated to lead. From October 2014 until shortly before

he joined the DOJ, Mr. Whitaker was a member of the advisory board of World Patent Marketing,

a company that promised clients it would patent and market their ideas for a sizable fee. Yet the

company allegedly took clients’ money—amounting to millions of dollars—and provided almost



https://www.collins.senate.gov/newsroom/senator-collins%E2%80%99-statement-legislation-
protect-special-counsel%E2%80%99s-investigation; Elana Schor, Flake, Coons Push for Vote on
Mueller Protection Bill, Politico (Nov. 8, 2018), https://www.politico.com/story/
2018/11/08/flake-coons-mueller-protection-bill-978362; Mitt Romney (@MittRomey), Twitter
(Nov. 7, 2018, 2:22 PM), https://twitter.com/MittRomney/status/1060296443611598848; Brent D.
Griffiths, Democrats Vow To Tighten the Screws on Whitaker, Politico (Nov. 11, 2018),
https://www.politico.com/story/2018/11/11/democrats-whitaker-trump-investigation-982957;
Hope Yen & Mary Clare Jalonick, Schumer: Dems Set To Push Bill Protecting Mueller Probe,
Associated Press (Nov. 11, 2018), https://www.apnews.com/9f4dd201d7934877853cebc
22ca14f5c.
         8
        See Charlie Savage, Acting Attorney General Matthew G. Whitaker Once Criticized
Supreme Court’s Power, N.Y. Times (Nov. 8, 2018), https://www.nytimes.com/
2018/11/08/us/politics/matthew-whitaker-courts-inferior.html.
         9
          See Andrew Kaczynski, Whitaker Said He Supports State’s Rights To Nullify Federal
Law, CNN (Nov. 10, 2018), https://www.cnn.com/2018/11/09/politics/matthew-whitaker-
nullification/index.html.


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no services in return. Earlier this year, the company was ordered by a court to pay more than $25

million to the consumers who were defrauded. The FBI is also conducting a criminal investigation

of the company’s conduct. Both the court order and the criminal investigation relate to conduct

that occurred while Mr. Whitaker was on the company’s board.10

       29.     Finally, Senators could consider Mr. Whitaker’s contacts with the White House

regarding specific enforcement matters—serving as the White House’s “eyes and ears” within the

DOJ, according to White House Chief of Staff John Kelly—in violation of policies governing

contacts between the DOJ and the White House.11

       30.     It is precisely so that matters like these can be thoroughly examined by Senators

that the Constitution prohibits the appointment of principal federal Officers without the Senate’s

advice and consent. That safeguard, the Framers recognized, helps prevent the President from

appointing Officers with “no other merit than that of . . . possessing the necessary insignificance

and pliancy to render them the obsequious instruments of his pleasure,” The Federalist No. 76, at

458 (Alexander Hamilton) (Clinton Rossiter ed., 1961). The Framers regarded the advice-and-

consent requirement as “an excellent check upon a spirit of favoritism in the President” that “would

tend greatly to prevent the appointment of unfit characters from State prejudice, from family

connection, [and] from personal attachment.” Id. at 457.


       10
          See Carol D. Leonnig, Rosalind S. Helderman, & Robert O’Harrow Jr., Before He Led
the Justice Department, Matthew G. Whitaker Promoted Company Accused of Deceiving Clients,
Wash. Post (Nov. 8, 2018), https://www.washingtonpost.com/politics/before-he-led-the-justice-
department-matthew-g-whitaker-promoted-company-accused-of-deceiving-clients/
2018/11/08/f46e6db8-e380-11e8-ab2c-b31dcd53ca6b_story.html?utm_term=.2a742e718b0d;
Mark Maremont & James V. Grimaldi, FBI Is Investigating Florida Company Where Whitaker
Was Advisory-Board Member, Wall St. J. (Nov. 9, 2018), https://www.wsj.com/articles/fbi-is-
investigating-florida-company-where-whitaker-was-advisory-board-member-1541799564.
       11
           See Murray Waas, Exclusive: Trump Loyalist Matthew Whitaker Was Counseling the
White House on Investigating Clinton, Vox (Nov. 9, 2018), https://www.vox.com/policy-and-
politics/2018/11/9/18080656/matthew-whitaker-trump-hillary-clinton-sessions-attorney-general.


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B.      Plaintiffs’ Injuries

        31.      As Acting Attorney General, Mr. Whitaker would serve as one of the highest-

ranking Officers within the executive branch. He would be vested with the law enforcement

authority of the United States. He would have vast ability to shape whether and how the laws

enacted by Congress are enforced and the money appropriated by Congress is spent. He also would

have a critical role in upholding the Constitution of the United States and ensuring equal justice

under    the    law   for   all   Americans.     See   U.S.    Dep’t   of   Justice,   About    DOJ,

https://www.justice.gov/about (“Thomas Jefferson wrote, ‘The most sacred of the duties of

government [is] to do equal and impartial justice to all its citizens.’ This sacred duty remains the

guiding principle for the women and men of the U.S. Department of Justice.”). And unless and

until he recuses himself, Mr. Whitaker would have supervisory power over at least two federal

investigations related to the President.

        32.      By designating Mr. Whitaker to perform the functions and duties of the Attorney

General without having been subject to Senate confirmation, President Trump has unlawfully

denied the Plaintiffs their right, as sitting U.S. Senators, to vote on whether to consent to his

appointment to that role.

        33.      Unlawfully denying legislators their right to cast an effective vote robs them of one

of their core powers and responsibilities. For that reason, the Supreme Court has long recognized

that legislators whose votes “have been completely nullified” by unlawful executive action “‘have

a plain, direct and adequate interest in maintaining the effectiveness of their votes,’” Raines v.

Byrd, 521 U.S. 811, 823 (1997) (quoting Coleman v. Miller, 307 U.S. 433, 438 (1939)), and may

seek judicial redress to “have their votes given effect,” Coleman, 307 U.S. at 438; see Cummings

v. Murphy, 321 F. Supp. 3d 92, 105 (D.D.C. 2018) (“Complete vote nullification is clearly a type




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of an institutional injury sufficient to support legislator standing.” (citing Raines, 521 U.S. at 826,

829)). Vote nullification occurs where a previously cast vote is unlawfully disregarded and where,

as here, the opportunity to cast a vote is unlawfully denied. Ariz. State Legislature v. Ariz. Indep.

Redistricting Comm’n, 135 S. Ct. 2652, 2665 (2015) (recognizing standing where legislature

challenged ballot measure that would “completely nullify any vote by the Legislature, now or in

the future” on a particular subject (brackets and quotation marks omitted)); Blumenthal v. Trump,

No. 17-1154, 2018 WL 4681001 (D.D.C. Sept. 28, 2018) (recognizing standing where members

of Congress alleged denial of their constitutional prerogative to vote on whether to consent to the

President’s acceptance of foreign emoluments); cf. Raines, 521 U.S. at 824 (rejecting standing

where plaintiffs could not “allege that the [challenged] Act will nullify their votes in the future”).

       34.     Plaintiffs thus have “a plain, direct and adequate interest in maintaining the

effectiveness of their votes,” Coleman, 307 U.S. at 438, on whether or not consent should be given

to Mr. Whitaker’s designation as Acting Attorney General.

                                             COUNT I
           Violation of the Appointments Clause of the United States Constitution,
                                      Art. II, § 2, cl. 2
                                    (Declaratory Relief)

       35.     Plaintiffs re-allege and incorporate by reference the preceding paragraphs of this

Complaint as if fully set forth herein.

       36.     There is an actual controversy between Plaintiffs and Defendants as to whether

Defendants are violating the Appointments Clause, which provides that the President “shall

nominate, and by and with the Advice and Consent of the Senate, shall appoint . . . all other Officers

of the United States, whose Appointments are not herein otherwise provided for, and which shall

be established by Law.” U.S. Const. art II, § 2, cl. 2. Specifically, Plaintiffs allege that Defendants

are violating the Appointments Clause by virtue of Mr. Whitaker’s performing the functions and


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duties of the office of Attorney General without having been subject to the advice and consent of

the Senate for that position or, indeed, any position in the federal government.

       37.     Plaintiffs are entitled to declaratory relief under 28 U.S.C. § 2201. A declaration

resolving the actual controversy between Plaintiffs and Defendants will aid in the resolution of

legal issues in this action. Without this relief, Plaintiffs will continue to suffer injury in their

institutional roles as members of Congress.

                                            COUNT II
           Violation of the Appointments Clause of the United States Constitution,
                                     Art. II, § 2, cl. 2
                                    (Injunctive Relief)

       38.     Plaintiffs re-allege and incorporate by reference the preceding paragraphs of this

Complaint as if fully set forth herein.

       39.     Defendant Donald J. Trump is the President of the United States, and Defendant

Matthew G. Whitaker is performing the functions and duties of Attorney General of the United

States—a principal Officer under the U.S. Constitution.

       40.     Defendant Whitaker has not been confirmed to serve as a principal Officer of the

United States or to serve in any other position requiring the advice and consent of the Senate.

       41.     By designating Defendant Whitaker to perform the functions and duties of the

office of Attorney General even though the Senate has not consented to his serving in that role or,

indeed, in any position in the federal government, Defendant Trump has denied each Plaintiff the

opportunity to cast a binding vote on whether to consent to Defendant Whitaker’s serving as a

principal Officer.

       42.     By performing the functions and duties of the office of Attorney General, in

violation of the Appointments Clause, Defendant Whitaker has denied each Plaintiff the

opportunity to cast a binding vote on whether to consent to his serving as a principal Officer.


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        43.      Plaintiffs are entitled to injunctive relief to stop the above-mentioned injury, and

this Court has the power to grant such relief pursuant to its inherent ability to grant equitable relief

and pursuant to 28 U.S.C. § 1331. Such relief would order Defendant Whitaker not to perform the

functions and duties of the office of Attorney General.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court enter a judgment in

Plaintiffs’ favor and against Defendants, consisting of:

        a) A declaratory judgment stating that:

                 (1)     Defendant Whitaker is performing the functions and duties of a principal

                         Officer of the United States; and

                 (2)     Defendants are therefore violating the Appointments Clause;

        b) Injunctive relief, enjoining Defendant Whitaker from performing the functions and

              duties of the office of Attorney General of the United States; and

        c) Such other and further relief as this Court may deem just and proper.




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Dated: November 19, 2018

By: /s/ Anne Tindall                          By: /s/ Brianne J. Gorod
    Anne Tindall                                  Brianne J. Gorod

Anne Tindall (D.C. Bar No. 494607)            Elizabeth B. Wydra (D.C. Bar. No. 483298)
Justin Florence (D.C. Bar No. 988953)         Brianne J. Gorod (D.C. Bar No. 982075)
Cameron Kistler (D.C. Bar No. 1008922)        Brian R. Frazelle (D.C. Bar No. 1014116)
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                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 Senator RICHARD BLUMENTHAL, et al.                                             MATTHEW G. WHITAKER, in his official capacity as
                                                                                purported Acting Attorney General of the United States, et al.


                                                         11001
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

 Brianne J. Gorod, Constitutional Accountability Center                         Attorney General of the United States
 1200 18th Street, N.W., Suite 501                                              U.S. Department of Justice
 Washington, DC 20036                                                           950 Pennsylvania Avenue, N.W.
 (202) 296-6889                                                                 Washington, DC 20530

 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

 o     1 U.S. Government    o     3 Federal Question
                                                                                           PTF    DFT

                                                                                                 o1 o1
                                                                                                                                   PTF

                                                                                                                                                             o4 o4
                                                                                                                                                                           DFT

         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State                             Incorporated or Principal Place
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits                                  462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                         Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                         defendant)                                465 Other Immigration
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                         Actions
      240 Torts to Land                 Prisoner Petitions                                    7609                                      470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                    Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                             625 Drug Related Seizure of
                                                                                              Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                          690 Other                                     850 Securities/Commodities/
     370 Other Fraud                         560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                     Other Statutes                                     896 Arbitration
     380 Other Personal Property
                                                                                         375 False Claims Act                           899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                               376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                       3729(a))                                       Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                 400 State Reapportionment                      950 Constitutionality of State
                                                Drug Application                         430 Banks & Banking                                Statutes
                                            840 Trademark                                450 Commerce/ICC                               890 Other Statutory Actions
                                                                                             Rates/etc.                                     (if not administrative agency
                                                                                         460 Deportation                                    review or Privacy Act)
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 o     G. Habeas Corpus/                       o      H. Employment                           o     I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                   o     M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Violation of the Appointments Clause, U.S. Const. art. II, § 2, cl. 2.

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
                                             ACTION UNDER F.R.C.P. 23                                                            YES               NO
      COMPLAINT                                                                      JURY DEMAND:

 VIII. RELATED CASE(S)                       (See instruction)                                                                   If yes, please complete related case form
                                                                                 YES                    NO
       IF ANY
         November 19, 2018
 DATE: _________________________                                                                   /s/ Brianne J. Gorod
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

     The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
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                                             District of Columbia


    Senator RICHARD BLUMENTHAL, et al.,




                                                                    18-2664

MATTHEW G. WHITAKER, in his official capacity as
 purported Acting Attorney General of the United
                  States, et al.




                                     SUMMONS IN A CIVIL ACTION

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                            U.S. Department of Justice
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                                             District of Columbia


    Senator RICHARD BLUMENTHAL, et al.,




                                                                    18-2664

MATTHEW G. WHITAKER, in his official capacity as
 purported Acting Attorney General of the United
                  States, et al.




                                     SUMMONS IN A CIVIL ACTION

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                            The White House
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                  Case 1:18-cv-02664 Document 1-4 Filed 11/19/18 Page 1 of 1




                                             District of Columbia


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                                                                    18-2664

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 purported Acting Attorney General of the United
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                                     SUMMONS IN A CIVIL ACTION

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                            United States Attorney's Office
                            555 4th Street, NW
                            Washington, DC 20530




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